 

Case 4:14-cr-00151-Y Document 483 Filed 03/02/20 Page1of1 PagelD 8597

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

 

JUDGE: JEFFREY L. CURETON

 

DEPUTY CLERK: JULIE HARWELL

COURT REPORTER/TAPE NO: DIGITAL FILE

 

LAW CLERK:

USPO/PTSO: Lhey\nc-be “YN

 

INTERPRETER: YOVANA GONZALEZ

 

 

 

 

COURT TIME: lomi
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AM. PM. DATE: March 2, 2020

Pélpist. cr. No. 4:14-CR-151-Y (05) USDI MEANS
UNITED STATES OF AMERICA §  AISHA SALEEM, AUSA
Vv. §
RAMON VILLARREAL HERANDEZ § CR
DEFENDANT(S) NAME(S) AND NUMBER(S) § COUNSEL FOR DEFENDANTS APPT - (A), Retd - (R), FPD - (F)

 

WB INITIAL APPEARANCE LIIDENTITY LJBOND HEARING LJPRELIMINARY HEARING
(DETENTION HEARING L] COUNSEL DETERMINATION HEARING L] REMOVAL HEARINGL] EXTRADITION HEARING

| HEARING CONTINUED ON

CASE NO.
& DATE OF FEDERAL ARREST/CUSTODY: 2/28/20_ CJ SURRENDER

(J oTHER pistrict UO pivision
(] RULE 5/32 (1) APPEARED ON WRIT

DEFT FIRST APPEARANCE. DEFT ADVISED OF RIGHTS/CHARGES C PROBATION/SUPERVISED RELEASE VIOLATOR

DEFT FIRST APPEARANCE WITH COUNSEL.

XM perr C) mw (MATERIAL WITNESS)

i] REQUESTS APPOINTED COUNSEL.

JK] FINANCIAL AFFIDAVIT EXECUTED.

(ALorDER APPOINTING FEDERAL PUBLIC DEFENDER.
[_] PRIVATE COUNSEL APPOINTED

(1) DEFT HAS RETAINED COUNSEL

(CL) ARRAIGNMENT SET

() PRELIMINARY HEARING SET

] COUNSEL DETERMINATION HEARING SET

(J ieNTITY/REMOVAL HEARING SET
CsonpU) serQ repucep To $

APPEARED KX] witn CJ witout COUNSEL

[) BonD HEARING SET _|

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U.S. DISTRICT COURL
NORTHERN DISTRICT OF TEXAS

 

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CLERK, U.S. DISTRICT COURT

 

 

 

C NO BOND SET AT THIS TIME, DAY DETENTION ORDER TO BE ENTERED.
CL) ORDER OF TEMPORARY DETENTION/COMMITMENT PENDING HEARING ENTERED.

ORDER OF DETENTION PENDING TRIAL ENTERED.
CO DEFT ADVISED OF CONDITIONS OF RELEASE.

BOND EXECUTED L] pert CJ mw RELEASED C] state AuTHorTIES L] ins

DEFT CJ MW REMANDED TO CUSTODY.
DEFT ORDERED REMOVED TO ORIGINATING DISTRICT.

C warver or ( previminary HEARING LI RULE 5/32 HEARING L] DETENTION HEARING

(-) courT FINDS PROBABLE CAUSELJ1p C) pc.

(J DEFT FAILED TO APPEAR. ORAL ORDER FOR ISSUANCE OF BENCH WARRANT.
C]covERNMENE TO WOFIFY FOREIGN CONSULAR. f
JBREMarks: LL VCS ie: - hc

 
